Case 1:19-cr-00395-BAH Document 45-1 Filed 06/16/20 Page 1 of 9




       Exhibit A
      Case 1:19-cr-00395-BAH Document 45-1 Filed 06/16/20 Page 2 of 9



X-Gmail-Labels: Inbox,Unread
Delivered-To: larry@hwisite.com
Received: by 2002:ab0:4e81:0:0:0:0:0 with SMTP id l1csp1117340uah;
Thu, 20 Feb 2020 10:07:35 -0800 (PST)
Return-Path: <bounce-mc.us7_18490731.981873-
2d8ef48e92@mail137.atl241.mcsv.net>
Received: from mail137.atl241.mcsv.net (mail137.atl241.mcsv.net.
[198.2.141.137])        by mx.google.com with ESMTPS id
85si208935ybc.279.2020.02.20.10.07.35        for <Larry@hwisite.com>
(version=TLS1_2 cipher=ECDHE-RSA-AES128-GCM-SHA256 bits=128/128);
Thu, 20 Feb 2020 10:07:35 -0800 (PST)
Received: from localhost (localhost [127.0.0.1]) by
mail137.atl241.mcsv.net (Mailchimp) with ESMTP id 48NjH81WkGzDRRR5m for
<Larry@hwisite.com>; Thu, 20 Feb 2020 18:07:32 +0000 (GMT)
From: no-reply@trezor.io
Reply-To: no-reply@trezor.io
To: Larry@hwisite.com
Date: Thu, 20 Feb 2020 18:07:13 +0000
Message-ID:
<a87eb6070c965ef1be1b02854.2d8ef48e92.20200220180653.1a2db2dae2.218576d3@m
ail137.atl241.mcsv.net>
X-Mailer: MailChimp Mailer - **CID1a2db2dae22d8ef48e92**
      Case 1:19-cr-00395-BAH Document 45-1 Filed 06/16/20 Page 3 of 9



X-Gmail-Labels: Inbox,Unread
Delivered-To: larry@hwisite.com
Received: by 2002:a9f:300e:0:0:0:0:0 with SMTP id h14csp4403171uab;
Mon, 23 Mar 2020 10:09:53 -0700 (PDT)
Return-Path: <bounce-mc.us7_18490731.981889-
2d8ef48e92@mail192.sea101.rsgsv.net>
Received: from mail192.sea101.rsgsv.net (mail192.sea101.rsgsv.net.
[148.105.15.192])        by mx.google.com with ESMTPS id
67si11638409pfu.48.2020.03.23.10.09.52        for <Larry@hwisite.com>
(version=TLS1_2 cipher=ECDHE-RSA-AES128-GCM-SHA256 bits=128/128);
Mon, 23 Mar 2020 10:09:52 -0700 (PDT)
Received: from localhost (localhost [127.0.0.1]) by
mail192.sea101.rsgsv.net (Mailchimp) with ESMTP id 48mLTq2rzkzllMFj for
<Larry@hwisite.com>; Mon, 23 Mar 2020 17:09:51 +0000 (GMT)
From: no-reply@trezor.io
Reply-To: no-reply@trezor.io
To: Larry@hwisite.com
Date: Mon, 23 Mar 2020 17:09:39 +0000
Message-ID:
<a87eb6070c965ef1be1b02854.2d8ef48e92.20200323170926.805d1ef46d.eba62487@m
ail192.sea101.rsgsv.net>
X-Mailer: MailChimp Mailer - **CID805d1ef46d2d8ef48e92**
      Case 1:19-cr-00395-BAH Document 45-1 Filed 06/16/20 Page 4 of 9



X-Gmail-Labels: Deleted,Trash
Delivered-To: larry@hwisite.com
Received: by 2002:a9f:2247:0:0:0:0:0 with SMTP id 65csp1850586uad;
Thu, 16 Apr 2020 03:33:34 -0700 (PDT)
Return-Path: <bounce-mc.us7_18490731.981913-
2d8ef48e92@mail193.suw16.rsgsv.net>
Received: from mail193.suw16.rsgsv.net (mail193.suw16.rsgsv.net.
[198.2.182.193])        by mx.google.com with ESMTPS id
n129si18318634ybb.287.2020.04.16.03.33.33        for <Larry@hwisite.com>
(version=TLS1_2 cipher=ECDHE-ECDSA-AES128-GCM-SHA256 bits=128/128);
Thu, 16 Apr 2020 03:33:33 -0700 (PDT)
Received: from localhost (localhost [127.0.0.1]) by
mail193.suw16.rsgsv.net (Mailchimp) with ESMTP id 492wYT3q1szlgHkT for
<Larry@hwisite.com>; Thu, 16 Apr 2020 10:33:33 +0000 (GMT)
From: no-reply@trezor.io
Reply-To: no-reply@trezor.io
To: Larry@hwisite.com
Date: Thu, 16 Apr 2020 10:33:22 +0000
Message-ID:
<a87eb6070c965ef1be1b02854.2d8ef48e92.20200416103310.4acd304b6e.63023366@m
ail193.suw16.rsgsv.net>
X-Mailer: MailChimp Mailer - **CID4acd304b6e2d8ef48e92**
Case 1:19-cr-00395-BAH Document 45-1 Filed 06/16/20 Page 5 of 9




       Exhibit B
      Case 1:19-cr-00395-BAH Document 45-1 Filed 06/16/20 Page 6 of 9




X-Gmail-Labels: Inbox,Unread
Delivered-To:               @gmail.com
Received: by 2002:a05:6638:f8b:0:0:0:0 with SMTP id h11csp3066773jal;
Sun, 19 Apr 2020 06:19:34 -0700 (PDT)
Return-Path: <bounce-md_30906743.5e9c4fe6.v1-
9830fd06d62648bab107e8118416dd5e@mandrillapp.com>
Received: from mail187-2.suw11.mandrillapp.com (mail187-
2.suw11.mandrillapp.com. [198.2.187.2])        by mx.google.com with
ESMTPS id w130si28772477ybe.253.2020.04.19.06.19.34        for
               @gmail.com>        (version=TLS1_2 cipher=ECDHE-ECDSA-
AES128-GCM-SHA256 bits=128/128);        Sun, 19 Apr 2020 06:19:34 -0700
(PDT)
Received: from pmta01.mandrill.prod.suw01.rsglab.com (127.0.0.1) by
mail187-2.suw11.mandrillapp.com id hjh7uc174i4i for
               @gmail.com>; Sun, 19 Apr 2020 13:19:34 +0000 (envelope-from
<bounce-md_30906743.5e9c4fe6.v1-
9830fd06d62648bab107e8118416dd5e@mandrillapp.com>)
From: no-reply@trezor.io
Return-Path: <bounce-md_30906743.5e9c4fe6.v1-
9830fd06d62648bab107e8118416dd5e@mandrillapp.com>
Received: from [34.254.174.167] by mandrillapp.com id
9830fd06d62648bab107e8118416dd5e; Sun, 19 Apr 2020 13:19:34 +0000
Message-Id: <158730237441.4.4437057731637285675@f3ba306c-bb72-4252-be7b-
db035904dd98.prvt.dyno.rt.heroku.com>
To:               @gmail.com
Date: Sun, 19 Apr 2020 13:19:34 +0000
      Case 1:19-cr-00395-BAH Document 45-1 Filed 06/16/20 Page 7 of 9



X-Gmail-Labels: Deleted,Spam,Unread
Delivered-To:               @gmail.com
Received: by 2002:a05:6638:f8b:0:0:0:0 with SMTP id h11csp3565209jal;
Sun, 19 Apr 2020 18:09:27 -0700 (PDT)
Return-Path: <bounce-md_30906743.5e9cf647.v1-
cb25b5475a1f4beaa56c9c5d56a8c7c8@mandrillapp.com>
Received: from mail187-2.suw11.mandrillapp.com (mail187-
2.suw11.mandrillapp.com. [198.2.187.2])        by mx.google.com with
ESMTPS id e188si11862447yba.493.2020.04.19.18.09.27        for
                gmail.com>        (version=TLS1_2 cipher=ECDHE-ECDSA-
AES128-GCM-SHA256 bits=128/128);        Sun, 19 Apr 2020 18:09:27 -0700
(PDT)
Received: from pmta01.mandrill.prod.suw01.rsglab.com (127.0.0.1) by
mail187-2.suw11.mandrillapp.com id hjjr4e174i4k for
               @gmail.com>; Mon, 20 Apr 2020 01:09:27 +0000 (envelope-from
<bounce-md_30906743.5e9cf647.v1-
cb25b5475a1f4beaa56c9c5d56a8c7c8@mandrillapp.com>)
From: no-reply@trezor.io
Return-Path: <bounce-md_30906743.5e9cf647.v1-
cb25b5475a1f4beaa56c9c5d56a8c7c8@mandrillapp.com>
Received: from [52.51.204.26] by mandrillapp.com id
cb25b5475a1f4beaa56c9c5d56a8c7c8; Mon, 20 Apr 2020 01:09:27 +0000
Message-Id: <158734496730.4.17693992186544579923@97bd2fb7-ca3f-4f31-bf10-
cca0787e2567.prvt.dyno.rt.heroku.com>
To:               @gmail.com
Date: Mon, 20 Apr 2020 01:09:27 +0000
      Case 1:19-cr-00395-BAH Document 45-1 Filed 06/16/20 Page 8 of 9



X-Gmail-Labels: Inbox
Delivered-To:               @gmail.com
Received: by 2002:a05:6638:f8b:0:0:0:0 with SMTP id h11csp1027324jal;
Sat, 25 Apr 2020 06:09:38 -0700 (PDT)
Return-Path: <bounce-md_30906743.5ea43692.v1-
73630e30a3154aaa91893a55fd6b745d@mandrillapp.com>
Received: from mail132-18.atl131.mandrillapp.com (mail132-
18.atl131.mandrillapp.com. [198.2.132.18])         by mx.google.com with
ESMTPS id j5si5079888qkm.286.2020.04.25.06.09.38         for
                gmail.com>        (version=TLS1_2 cipher=ECDHE-ECDSA-
AES128-GCM-SHA256 bits=128/128);        Sat, 25 Apr 2020 06:09:38 -0700
(PDT)
Received: from pmta02.mandrill.prod.atl01.rsglab.com (127.0.0.1) by
mail132-18.atl131.mandrillapp.com id hkgr8s1sar8u for
               @gmail.com>; Sat, 25 Apr 2020 13:09:34 +0000 (envelope-from
<bounce-md_30906743.5ea43692.v1-
73630e30a3154aaa91893a55fd6b745d@mandrillapp.com>)
From: no-reply@trezor.io
Return-Path: <bounce-md_30906743.5ea43692.v1-
73630e30a3154aaa91893a55fd6b745d@mandrillapp.com>
Received: from [54.229.75.219] by mandrillapp.com id
73630e30a3154aaa91893a55fd6b745d; Sat, 25 Apr 2020 13:09:38 +0000
Message-Id: <158782017746.4.8790201231840564100@6f4cc44f-2df8-445d-af0b-
6beec966e1a1.prvt.dyno.rt.heroku.com>
To:               @gmail.com
Date: Sat, 25 Apr 2020 13:09:38 +0000
      Case 1:19-cr-00395-BAH Document 45-1 Filed 06/16/20 Page 9 of 9



X-Gmail-Labels: Inbox
Delivered-To:               @gmail.com
Received: by 2002:a05:6638:f8b:0:0:0:0 with SMTP id h11csp2027374jal;
Sun, 26 Apr 2020 06:09:32 -0700 (PDT)
Return-Path: <bounce-md_30906743.5ea5880b.v1-
12beb45c66df427f84b3b4fda38792d1@mandrillapp.com>
Received: from mail134-2.atl141.mandrillapp.com (mail134-
2.atl141.mandrillapp.com. [198.2.134.2])         by mx.google.com with
ESMTPS id u6si7231261qvo.153.2020.04.26.06.09.31         for
                gmail.com>        (version=TLS1_2 cipher=ECDHE-ECDSA-
AES128-GCM-SHA256 bits=128/128);         Sun, 26 Apr 2020 06:09:32 -0700
(PDT)
Received: from pmta03.mandrill.prod.atl01.rsglab.com (127.0.0.1) by
mail134-2.atl141.mandrillapp.com id hkm40o1sau8e for
                gmail.com>; Sun, 26 Apr 2020 13:09:31 +0000 (envelope-from
<bounce-md_30906743.5ea5880b.v1-
12beb45c66df427f84b3b4fda38792d1@mandrillapp.com>)
From: no-reply@trezor.io
Return-Path: <bounce-md_30906743.5ea5880b.v1-
12beb45c66df427f84b3b4fda38792d1@mandrillapp.com>
Received: from [34.248.38.155] by mandrillapp.com id
12beb45c66df427f84b3b4fda38792d1; Sun, 26 Apr 2020 13:09:31 +0000
Message-Id: <158790657137.4.7647384854959910126@b3191440-9c73-414d-b511-
e3cca37d5b5b.prvt.dyno.rt.heroku.com>
To:                gmail.com
Date: Sun, 26 Apr 2020 13:09:31 +0000
